Case 2:85-cv-04544-DMG-AGR Document 929 Filed 08/24/20 Page 1 of 4 Page ID #:40440



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14
                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
16                                           )
17           Plaintiffs,                     )   FOURTH SUPPLEMENT TO
                                             )   DEFENDANTS’ RESPONSE TO
18                v.                         )   JUNE 25, 2020 AMICUS BRIEF
19                                           )
     WILLIAM P. BARR, Attorney               )
20   General of the United States; et al.,   )
21                                           )
             Defendants.                     )
22                                           )
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                                             )

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Case 2:85-cv-04544-DMG-AGR Document 929 Filed 08/24/20 Page 2 of 4 Page ID #:40441



 1         On June 26, 2020, the Court ordered that “Defendants may respond to the
 2
     amicus brief [Doc. # 831] by July 2, 2020.” ECF No. 833 at ¶ 3. In accordance with
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 4   the Court’s order, on July 2, 2020, Defendants filed a response from Ms. Deane

 5   Dougherty, the Juvenile Coordinator for U.S. Immigration and Customs
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     Enforcement (“ICE”). See ECF No. 838. That response explained that “ICE has been
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 8
     reporting any positive test results to the Court in O.M.G. v. Wolf, 1:20-cv-00786-

 9   JEB (D.D.C filed March 21, 2020),” and attached the reports submitted to the
10
     O.M.G. Court as of July 2, 2020. See Response of Deane Dougherty, ECF No. 838-
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12
     1, at 2 and attachments.

13         Defendants have continued to submit updates to that Court, and on July 8,
14
     2020, July 13, 2020, and July 27, 2020, Defendants supplemented their July 2, 2020
15
     filing with additional reports filed in O.M.G. through July 27, 2020. Defendants also
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17   stated that they will continue to update this Court by filing the reports filed in O.M.G.
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     with this Court as well. Accordingly, attached hereto are the additional reports filed
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     in O.M.G. through August 24, 2020.
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Case 2:85-cv-04544-DMG-AGR Document 929 Filed 08/24/20 Page 3 of 4 Page ID #:40442



 1
     DATED:    August 24, 2020        Respectfully submitted,
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10                                    /s/ Sarah B. Fabian
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Case 2:85-cv-04544-DMG-AGR Document 929 Filed 08/24/20 Page 4 of 4 Page ID #:40443



 1                               CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on August 24, 2020, I served the foregoing pleading and

 4   attachments on all counsel of record by means of the District Clerk’s CM/ECF
 5
     electronic filing system.
 6

 7

 8                                               /s/ Sarah B. Fabian
 9                                               SARAH B. FABIAN
                                                 U.S. Department of Justice
10                                               District Court Section
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